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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
   NS:TH                                             271 Cadman Plaza East
   F. #2017R01840                                    Brooklyn, New York 11201



                                                     October 9, 2020

   By ECF

   The Honorable Nicholas G. Garaufis
   United States District Judge
   United States District Court
   225 Cadman Plaza East
   Brooklyn, New York 11201

                 Re:      United States v. Keith Raniere, et al.
                          Criminal Docket No. 18-204 (S-2) (NGG)

   Dear Judge Garaufis:

                 The government respectfully submits this letter in response to Raniere’s
   sentencing memorandum filed on September 18, 2020. ECF Docket No. 925 (“Raniere
   Mem.”). The claims and arguments set forth in Raniere’s memorandum are, without
   exception, inconsistent with the evidence presented at trial. The jury has already rejected
   them. For the reasons set forth in the government’s sentencing memorandum, ECF Docket
   No. 914, the Court should also reject them.

                 With respect to Raniere’s contentions with respect to Camila (Raniere Mem. at
   68-73), the government encloses under separate cover a victim impact statement it has
   received from Camila. This statement provides further support of Raniere’s sexual abuse of
   Camila in the months prior to the production of child pornography images. 1 The government
   expects that Camila will attend Raniere’s sentencing on October 27, 2020 and may wish to
   address the Court further at that time.


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                         As for Raniere’s remaining objections to the United States Sentencing
   Guidelines, the government respectfully submits that, for the reasons set forth in the
   government’s sentencing memorandum, the calculation in the PSR is accurate. The
   government notes, however, that even if the Court were to decline to apply the two-level
   enhancement for serious bodily injury as to Racketeering Act Nine (Group 9), as well as the
   sex trafficking Guidelines as to Sylvie and India (Groups 13 and 14), Raniere would still face
   an advisory Guidelines range of life in prison.
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                  Lastly, Raniere’s sentencing memorandum contains various complaints about
   his prosecution and trial, including that the prosecution “threatened several of his potential
   defense witnesses,” Raniere Mem. at 49-50, and that the Court’s order permitting victim-
   witnesses to testify using their first names only violated his due process rights. Id. Raniere’s
   contentions are meritless and, to the extent Raniere seeks the Court’s leave to “submit further
   briefing on this point,” Raniere Mem. at 1, the government respectfully submits that the
   Court should deny Raniere’s request because he cannot meet the demanding standard for
   “newly discovered evidence” under Fed. R. Crim. P. 33(b)(1). See, e.g., United States v.
   Forbes, 790 F.3d 403, 406 (2d Cir. 2015). The claims identified in Raniere’s sentencing
   memorandum were known to him long before the verdict in this case and he was therefore
   required to raise them within 14 days of the verdict under Rule 33(b)(2) or on the briefing
   schedule set by the court for post-trial motions. Raniere’s implicit request to extend the
   deadline set by the Court is barred by Fed. R. Crim. P. 45(b), and the government
   respectfully submits that the Court should proceed to sentencing on the current
   schedule. See, e.g., United States v. Ketabchi, No. 17-CR-243 (SHS), 2019 WL 1510444, at
   *2 (S.D.N.Y. Mar. 25, 2019) (denying Rule 33 motion as untimely under Rule 33(b)(2));
   United States v. Dupree, No. 10-CR-627 (KAM), 2012 WL 5333946, at *33 (E.D.N.Y. Oct.
   26, 2012) (same).



                                                      Respectfully submitted,

                                                      SETH D. DUCHARME
                                                      Acting United States Attorney

                                               By:      /s/ Tanya Hajjar
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   cc:    Clerk of Court (NGG) (by ECF)
          Defense Counsel (by ECF)




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